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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF NEW MEXICO


                                                      )
       In the Matter of the Search of                 )
                                                      )      Case No. _________
                                                      )
                                                      )
       THE PERSON OF JOHN EASTMAN                     )
                                                      )
                                                      )



        MOTION FOR RETURN OF PROPERTY UNDER FED. R. CRIM. P. 41(g)
       John C. Eastman (hereinafter movant), through undersigned counsel, respectfully asks this

Court to order the return of property seized during the execution of a warrant on movant’s person.

In support of this motion, movant asserts the following:

                                         BACKGROUND
       On the evening of June 22, 2022, federal agents served a search warrant (Exhibit 1) on

movant while movant was exiting a restaurant. Movant asked to see the warrant, but the executing

officer refused. Movant was frisked. Movant’s phone—an iPhone Pro 12—was seized. Movant

was forced to provide biometric data to open said phone. Movant was not provided a copy of the

warrant until after his phone was seized, and even then, he was only given a copy of the search

warrant but not the supporting affidavit referenced in it.

       The federal agents identified themselves as FBI agents, but they appeared to be executing

a warrant issued at the behest of the Department of Justice’s Office of the Inspector General

(OIG). See Ex. 1 (noting that after seizure, the phone is to be transported “to Washington, D.C.,

or to the DOJ-OIG forensic laboratory in Northern Virginia”).

       While movant is an attorney, movant has never worked for the Department of Justice.
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        The warrant authorized a search of movant’s person and the area within movant’s

immediate control. Ex. 1 at 2. The warrant authorized seizure of “any electronic or digital device—

including cell phones, USB devices, iPads, and computers identified in the affidavit—and all

information in such devices.” Ex. 1 at 3.

        The warrant authorized:

        [T]he compelled display of any physical biometric characteristics (such as
        fingerprint/thumbprint, facial characteristics, or iris display) necessary to unlock
        any device(s) requiring such biometric access subject to seizure pursuant to this
        warrant for which law enforcement has reasonable suspicion that the
        aforementioned person(s)' physical biometric characteristics will unlock the
        device(s), to include pressing fingers or thumbs against and/or putting a face before
        the sensor, or any other security feature requiring biometric recognition of any of
        the devices, for the purpose of attempting to unlock the device(s )'s security features
        in order to search the contents as authorized by this warrant.

Ex. 1 at 3.

                                            ARGUMENT
        “A person aggrieved by an unlawful search and seizure of property or by the deprivation

of property may move for the property's return.” Fed. R. Crim. P. 41(g). This warrant is unlawful

for at least three reasons. First, OIG has outstripped it mandate by targeting a person outside of

the Department of Justice. Second, the warrant does not describe with particularity the items to be

seized, is overbroad, and provides no probable cause link to any suspected criminal activity, all in

violation of the requirements of the Fourth Amendment. Third, the warrant authorized and resulted

in a violation of Movant’s Fifth Amendment rights, as well as rights secured by the First

Amendment, privileges that protect the right to counsel contained in the Sixth Amendment, and

fundamental privacy interests.

I.      OIG HAS NO JURISDICTION OVER MOVANT.

        The OIG is authorized to, inter alia, “initiate, conduct and supervise such audits and

investigations in the Department of Justice,” and “investigate allegations of criminal wrongdoing


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or administrative misconduct by a person who is the head of any agency or component of the

Department of Justice[.]” 5 U.S.C. APP. 3 § 8E(b)(1), (b)(4). An inspector general is necessarily

an internal looking organization. Its mandate extends to allegations of wrongdoing within the

Department of Justice.

       Movant is not now, nor has Movant ever been, an employee or officer of the Department

of Justice. Movant has no contractual obligations with the Department of Justice. Movant is,

therefore, outside of the OIG’s jurisdiction.

II.    THE WARRANT WAS FACIALLY INVALID UNDER THE FOURTH
       AMENDMENT.

       The warrant broadly authorized seizure of any of movant’s electronic devices “identified

in the affidavit—and all information in such devices.”          Ex. 1.    The warrant is facially

unconstitutional under the Fourth Amendment for at least three reasons. First, because the

referenced affidavit was not attached to the warrant, the warrant itself does not identify with the

requisite particularity which devices are to be seized. Second, the warrant’s authorization for “all

information in such devices” is unconstitutionally overbroad. Third, the warrant does not even

mention, much less describe with specificity, any particular crime for which evidence sought by

the warrant might be relevant, or include any information linking movant’s devices or the

information contained therein to any such crime, or even that said devices were likely to exist or

be on movant’s person.

       A. The Warrant Does Not Describe the Items to be Seized with the Particularity
          Required by the Fourth Amendment.

       The Fourth Amendment provides that “no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.’” U.S. Const. amend. IV (emphasis added). The warrant itself does

not provide a list of items to be seized. Rather, it authorizes seizure of electronic devices


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“identified in the affidavit,” but the affidavit was not attached. In order to be incorporated by

reference, “[a]n affidavit must be physically attached to the warrant, and the search warrant must

expressly refer to the affidavit and incorporate it into the search warrant with suitable words of

reference. United States v. Sterling, No. CR 03-2566 JB, 2006 WL 8444153, at *9 (D.N.M. May

8, 2006) (emphasis added) (citing United States v. Leary, 846 F.2d 592, 603 (10th Cir. 1988)).; see

also United States v. Brakeman, 475 F.3d 1206, 1209 (10th Cir. 2006) (“affidavit for [a] warrant

can be considered in assessing [the] particularity of [the] warrant when incorporated by reference

and attached to [the] warrant.”). Because the warrant itself fails to “particularly describ[e]” the

things to be seized, it is unconstitutional on its face.

        Moreover, without the particularity described in the affidavit or other information relied

upon by the magistrate judge, the warrant improperly limits movant’s ability to demonstrate his

aggrieved position as to the unlawful search and seizure of his property. See Fed. R. Crim. P.

41(d). By failing to provide the affidavit or other information, it shows an intent by the

Government to prevent movant from developing his challenges to the warrant as an aggrieved

party. Fed. R. Crim. P. 41(g). This omission prejudices movant’s ability to demonstrate the

irreparable harm, particularly where there is no pending matter to formally file a challenge to the

search warrant. See United States v Shigemura, 664 F.3d 310, 312 (10th Cir. 2011) (“A district

court should exercise its equitable power to grant relief only if the Rule 41(g) movant shows

‘irreparable harm and an inadequate remedy at law’.”) (quotations and citations omitted).

        B. The Warrant’s Authorization for seizure of “all information in such devices” is
           unconstitutionally overbroad.

        Courts have long held that a warrant with an “indiscriminate sweep” is “constitutionally

intolerable.” Stanford v. Texas, 379 U.S. 476, 486 (1965); see also Coolidge, 403 U.S. at 467

(Stewart, J., plurality) (explaining the “specific evil” of an overbroad warrant is “a general,



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exploratory rummaging in a person’s belongings”); United States v. Griffith, 867 F.3d 1265, 1275

(D.C. Cir. 2017); United States v. Guarino, 729 F.2d 864, 866 (1st Cir. 1984). “[S]earches deemed

necessary should [therefore] be as limited as possible.” Coolidge v. New Hampshire, 403 U.S. 443,

467 (1971) (Stewart, J., plurality).

        The warrant’s authorization to seize “all information in such devices,” quite apart from the

failure to specify which devices, does not provide any limit, much less provide a particularized

description, of what information can be seized. Instead, it operates as a general warrant, allowing

for an unconstitutional “exploratory rummaging” through movant’s electronic data. See United

States v. Leary, 846 F.2d 592, 600 (10th Cir. 1988) (“This [particularity] requirement prevents a

general exploratory rummaging in a person's belongings....”)). As this Court has previously

recognized, “General warrants are at the heart of the Fourth Amendment's prohibition. Those

searches that are “deemed necessary should be as limited as possible. Here the specific evil is the

‘general warrant’ abhorred by the colonists....” United States v. Sterling, No. CR 03-2566 JB, 2006

WL 8444153, at *5 (D.N.M. May 8, 2006) (quoting Coolidge v. New Hampshire, 403 U.S. 443,

467 (1971) and citing United States v. Leary, 846 F.2d 592, 600 (10th Cir. 1988) (“This

[particularity] requirement prevents a general exploratory rummaging in a person's

belongings....”)).

        The D.C. Circuit provides instructive insight. Griffith, 867 F.3d 1265. There, police

searched the shared apartment of a murder suspect for, among other things, any cell phones. Id. at

1268–69. Griffith found that warrant overbroad because it lacked evidence a cell phone existed,

id. at 1270–71, evidence a phone would be located at the apartment, id. at 1273, evidence the cell

phone was related to the murder, id., and the warrant’s “expansive sweep,” reaching the




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defendant’s girlfriend and anyone else present in the house, “far outstripped the police’s proffered

justification for entering the home—viz., to recover any devices owned by [the defendant],” id.1

       C. The warrant does not even mention, much less describe with specificity, any
          particular crime for which evidence sought by the warrant might be relevant, or
          include any information linking movant’s devices or the information contained
          therein to any such crime, or even that said devices were likely to exist or be on
          movant’s person.

       The Fourth Amendment also requires a finding of probable cause that a search will yield

evidence related to a specific crime. “The particularity requirement [described in subsection A

above] also ensures that a search is confined in scope to particularly described evidence relating

to a specific crime for which there is demonstrated probable cause.” Sterling, 2006 WL 8444153,

at *5 (quoting Leary, 846 F.2d at 600, in turn quoting Voss v. Bergsgaard, 774 F.2d 402, 404 (10th

Cir. 1985)). The warrant mentions no crime at all, much less any specific crime, and even if the

specifics necessary to support a finding of probable cause related to a specific crime are contained

in the supporting affidavit, the affidavit was not attached to the warrant and therefore cannot serve

to cure the warrant’s facial defect on this score. As the Supreme Court has held, “[t]he fact that

the application adequately described the ‘things to be seized’ does not save the warrant from its

facial invalidity,” because “[t]he Fourth Amendment by its terms requires particularity in the

warrant, not in the supporting documents.” Sterling, 2006 WL 8444153, at *6 (quoting Groh v.

Ramirez, 540 U.S. 551, 557 (2004).




1
  In the context of electronic data such as is at issue here, one Ninth Circuit judge has proposed
that “where the privacy interests of numerous other parties who are not under suspicion of criminal
wrongdoing are implicated by the search,” magistrates should take special measures to protect this
information. United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1179 (9th Cir.
2010) (Kozinski, C.J., concurring); see also United States v. Schesso, 730 F.3d 1040, 1049 (9th
Cir. 2013) (finding it important that third party rights were not implicated in a broad warrant).

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       Moreover, the warrant provides no allegation that Movant owned, possessed, or had control

over any electronic devices. True, many people now own cellular phones. But this warrant provides

“no indication otherwise of [movant’s] ownership of a cell phone at any time. Griffith, 867 F.3d

at 1272. Nor does the warrant establish probable cause that Movant owns any other electronic

devices that “do not approach cellphones in their ubiquity[.]” Id.

       This issue is compounded by the fact that the warrant gives no indication that evidence of

any wrongdoing would be found on a cell phone or other electronic device. “Because a cell phone,

unlike drugs or other contraband, is not inherently illegal, there must be reason to believe that a

phone may contain evidence of the crime.” Id. at 1274. The burden for seizure is therefore higher,

and this warrant does not remotely meet it.

III.   THE EXECUTIVE OFFICER’S REFUSAL TO PROVIDE MOVANT WITH THE
       WARRANT “AT THE OUTSET” WAS UNREASONABLE AND THEREFORE A
       SEPARATE FOURTH AMENDMENT VIOLATION.

       Despite movant’s explicit request to see a copy of the warrant before surrendering his cell

phone, the lead FBI agent refused to provide Dr. Eastman with a copy of the warrant “at the outset.”

Exhibit 2, Eastman Decl. ¶¶ 4-6. Although the Supreme Court once noted in passing in a footnote

“that neither the Fourth Amendment nor Rule 41 … requires the executing officer to serve the

warrant on the owner before commencing the search”—a statement of pure dicta that this Court in

an unpublished opinion has erroneously described as a holding, see United States v. Elliott, No.

CR 14-3822 RB, 2015 WL 13667417, at *5 (D.N.M. Oct. 21, 2015)—the Supreme Court also

suggested in that same footnote that it might be “unreasonable to refuse a request to furnish the

warrant at the outset of the search when, as in this case, an occupant of the premises is present and

poses no threat to the officers’ safe and effective performance of their mission….”—an issue which




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was not presented by the case. Groh v. Ramirez, 540 U.S. 551, 562 n.5 (2004).2 Both before and

after the Groh decision, the Ninth Circuit has repeatedly held that, “[a]bsent exigent circumstances,

Rule 41(d) requires service of the warrant at the outset of the search on persons present at the

search of their premises.” United States v. Williamson, 439 F.3d 1125, 1132 (9th Cir. 2006)

(emphasis added, quoting United States v. Gantt, 194 F.3d 987, 1000 (9th Cir.1999), and citing

United States v. Smith, 424 F.3d 992, 1006-07 (9th Cir.2005)).

       The reasoning of the Ninth Circuit’s decisions is persuasive, and ought to be followed by

this Court. “The Supreme Court has repeatedly held,” it has noted, “that an essential function of

the warrant is to ‘assure[] the individual whose property is searched or seized of the lawful

authority of the executing officer, his need to search, and the limits of his power to search.’”

Williamson, 439 F.3d at 1132 (quoting Gantt, 194 F.3d at 1001, in turn quoting United States v.

Chadwick, 433 U.S. 1, 9 (1977), abrogated on other grounds, California v. Acevedo, 500 U.S. 565

(1991)). That “essential function” cannot be fulfilled if the warrant is not provided “at the outset.”

       Indeed, that reasoning has already been utilized by this Court and by the Tenth Circuit in

addressing the need for particularity in the warrant. “The Fourth Amendment requires particularity

in the warrant, not in the supporting documents. This is so that the description of what is sought

to be seized is written in, or incorporated into, the warrant to ensure that the executing officer(s)

stay within the specific bounds set by the issuer.” United States v. Chavez, No. 1:21-CR-00294-

JCH-1, 2022 WL 252355, at *14 (D.N.M. Jan. 27, 2022) (quoting or citing United States v.




2
  The Supreme Court itself subsequently reiterated that the text of the Fourth Amendment does not
require in all cases that a warrant be provided before a search is conducted, but it did not in the
case address the suggestion in Groh that refusal to do so might be “unreasonable” in particular
circumstances such as those recognized in the several Ninth Circuit opinions discussed above.
United States v. Grubbs, 547 U.S. 90, 99 (2006) (citing Groh).

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Cooper, 654 F.3d 1104, 1126 (10th Cir. 2011); Groh v. Ramirez, 540 U.S. 551, 557 (2004); and

United States v. Suggs, 998 F.3d 1125, 1136 (10th Cir. 2021) (internal quotations omitted)).

        There are no exigent circumstances here that would have precluded the executing officer

from providing movant with a copy of the warrant “at the outset”—before his phone had been

seized. And had that been done, movant would have been able to call the officer’s attention to the

several constitutional infirmities evident on the face of the warrant, thus preventing the

unconstitutional seizure in the first place.

IV.     THE SEARCH AND SEIZURE AUTHORIZED BY THE WARRANT ALSO
        VIOLATES THE FIRST AND FIFTH AMENDMENTS AND PRIVILEGES THAT
        FURTHER THE RIGHT TO COUNSEL PROTECTED BY THE SIXTH
        AMENDMENT.COMPELLED TESTIMONY IN VIOLATION OF MOVANT’S
        FIFTH AMENDMENT RIGHT AGAINST SELF INCRIMINATION.

        A. The Warrant’s Authorization to Compel Movant to Provide Access to a Cell
           Phone with Personal Biometric Information Violates the Fifth Amendment.

        Under United States v. Hubbell, the target of a request for action holds a Fifth Amendment

right against self-incrimination where the action is itself a “statement of fact.” 530 U.S. 27, 36

(2000) (“By producing documents in compliance with a subpoena, the witness would admit that

the papers existed, were in his possession or control, and were authentic.” (internal quotation marks

omitted)).

        In the context of biometrics, compelled use of facial recognition is testimonial because it

reveals (a) that the subject has unlocked the phone previously and (b) that the subject exercises

some degree of control over the phone. United States v. Wright, 431 F. Supp. 3d 1175, 1187 (D.

Nev. 2020), aff'd on other grounds, No. 20-10303, 2022 WL 67341 (9th Cir. Jan. 6, 2022); see

also Matter of Residence in Oakland, California, 354 F. Supp. 3d 1010, 1016 (N.D. Cal. 2019);

cf. In re Application for a Search Warrant, 236 F. Supp. 3d 1066, 1073 (N.D. Ill. 2017) (“By using

a finger to unlock a phone's contents, a suspect is producing the contents on the phone. With a



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touch of a finger, a suspect is testifying that he or she has accessed the phone before, at a minimum,

to set up the fingerprint password capabilities, and that he or she currently has some level of control

over or relatively significant connection to the phone and its contents.”). 3

       When federal agents forced movant to unlock the seized phone with biometric data, the

government forced movant to testify that (1) Movant recently used the phone; (2) movant had

some control over the contents of the phone; and (3) that Movant’s control over the phone

approached exclusivity.4 Although the courts in this circuit do not appear to have yet confronted

this issue, the decisions by district courts elsewhere holding that the compelled use of biometric

information violates the Fifth Amendment are persuasive, and should be followed.

       B. The Warrant Authorizes Seizure of Information that is Protected by the First
          Amendment, by Attorney-Client and Work-Product Privileges that Further the
          Right to Counsel Protected by the Sixth Amendment, and by Privacy Rights.

       The warrant’s authorization to seize “all information in” specified electronic devises is not

only overbroad in violation of the Fourth Amendment, but also specifically covers information

that another federal court has already held to be protected by the First Amendment and by

Attorney-Client and Work-Product Privileges that further the right to counsel protected by the

Sixth Amendment. It also amounts to an unconstitutional intrusion on movant’s right to privacy.




3
  A couple of district courts have held otherwise. While recognizing that “[t]he law in this area is
emerging and entirely unsettled,” for example, the District Court for the Eastern District of
Kentucky held that “the government may compel an individual’s biometrics if there exists
reasonable suspicion to believe that the individual has committed a criminal act for which the
warrant authorizes an evidentiary search, and that the individual’s biometric features will unlock
the device.” In re Search Warrant No. 5165, 470 F. Supp. 3d 715, 724 (E.D. Ky. 2020); see also
Matter of Search of [Redacted] Washington, D.C., 317 F. Supp. 3d 523, 533 (D.D.C. 2018) (same).
In our view, the cases cited above are more consistent with the important protections provided by
the Fourth Amendment.
4
  The model of phone in question only allows two faces to unlock a phone. See Martyn Casserly,
“How to add a second face to Face ID,” MacWorld (Apr. 7, 2021), available at
https://www.macworld.com/article/676641/how-to-add-a-second-face-to-face-id.html.

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       Movant specifically does not waive any Attorney-Client and Work-Product Privileges.

The search and seizure of the phone jeopardizes the improper disclosure of privileged information.

The United States Supreme Court states that "[t]he attorney-client privilege is the oldest of the

privileges for confidential communications known to the common law." Upjohn Co. v. United

States, 449 U.S. 383, 389, 101 S.Ct. 677, 66 L.Ed.2d 584 (1981). Confidentiality will be “lost if

the client discloses the substance of an otherwise privileged communication to a third party." In re

Qwest Commc'n Int'l. Inc., 450 F.3d 1179, 1185 (10th Cir.2006).            "The confidentiality of

communications covered by the privilege must be jealously guarded by the holder of the privilege

lest it be waived." Id. Where disclosure to a third party is voluntary, the privilege is waived. Id.

The Courts must further apply the same waiver analysis to the privilege to involuntary disclosures.

United States v. Ary, 518 F.3d 775, 783 (10th Cir. 2008).

       The cell phone that was seized contains access to movant’s email accounts, including

emails that have been the subject of an intense, five-month privilege dispute between movant and

the U.S. House of Representatives Select Committee to Investigate the January 6 th Attack on the

U.S. Capitol. Eastman Decl. ¶ 7; see also Eastman v. Thompson, No. 8:22-cv-00099-DOC-DFM

(C.D. Cal. 2022). That litigation has received extensive media attention, so it is hard to imagine

that the Department of Justice, which apparently submitted the application for the warrant at issue

here, was not aware of it.

       The district court for the Central District of California expressly determined that a number

of movant’s emails—emails which are accessible through movant’s cell phone—are protected by

the First Amendment’s freedom of association, by attorney-client privilege, and/or by the work

product doctrine.




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       With respect to the First Amendment, the California district court recognized that

disclosing information related to political associations can “have a profound chilling effect on the

exercise of political rights.” Id., Dkt. #356 at 22 (quoting Perry v. Schwarzenegger, 591 F.3d 1147,

1156 (9th Cir. 2010) (citing Gibson v. Fla. Legislative Investigation Comm., 372 U.S. 539, 557

(1963)). It further recognized that the Supreme Court has therefore held that disclosure is only

appropriate when there is “a sufficiently important governmental interest.” Id. (quoting Americans

for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2383 (2021) (plurality opinion) (quoting Doe v.

Reed, 561 U.S. 186, 196 (2010) (internal quotation marks omitted)). It accordingly held that some

of movant’s emails “are protected from disclosure.” Id.

       The California district court also found that hundreds of movant’s emails—also accessible

by the seized phone—are protected by attorney-client privilege and/or the work product doctrine.

Id. at 26 (“the Court finds that 440 [of the disputed 559] documents are privileged”).

       In addition, by its very breadth, the warrant intrudes on significant privacy interests, both

of movant and of others whose communications with him are accessible on the seized cell phone.



                                         CONCLUSION
       For the foregoing reasons Movant respectfully requests that this court order OIG to return

Movant’s property—both the cell phone and “all information” in it, as well as to destroy all copies

of any information that has already been retrieved or copied from the device. Movant further

requests that any access to the cell phone and its information be stayed until he has a full and fair

opportunity to assert and protect his Constitutional rights and the privileged communications of

his numerous clients.




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                                Respectfully Submitted,

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